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                                     UNITED STATES DISTRICT COURT
                                       DISTRICT OF CONNECTICUT




HABIB OLAPADE

                   Plaintiff,                            Date: July 29, 2019
      V.

YALE LAW SCHOOL

                   Defendant




           PLAINTIFFS' MOTION FOR PRELIMINARY INJUNCTIVE RELIEF


Habib Olapade
16160 Keith Harrow Blvd. Apt. 108

Hou~on,Texas77084
281-550-7786

habib3355@outlook.com




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1.         Unless restrained Yale Law School will immediately prevent Mr. Olapade from
   beginning his last year at Yale Law School and graduating with the Yale Law School class
   of 2020.
2.         Immediate and irreparable injury, loss, and damage will result to Mr. Olapade by
   reason of the threatened action of Yale Law School because Mr. Olapade will be unable to
   publish his books on private equity law, MLB player representation and contract
   negotiations, Texas oil and gas law, federal appellate procedure, Alabama appellate
   procedure, Texas appellate procedure, Mississippi appellate procedure, Louisiana appellate
   procedure, Virginia appellate procedure, Hawaii appellate procedure, Tennessee appellate
   procedure, Idaho appellate procedure, Montana appellate procedure, North Carolina
   appellate procedure, South Carolina appellate procedure, Kentucky appellate procedure,
   Maryland, appellate procedure Delaware appellate procedure, Arkansas appellate
   procedure, appellate procedure in the six American New England states, appellate
   procedure in the five American Old Northwest states, and his thirty-five book series on the
   various election laws of the United States as a newly minted lawyer; Mr. Olapade will be
   unable to take the Uniform Bar Exam immediately after graduation and apply for admission
   to the bars of Alabama, Alaska, Arkansas, Arizona, Colorado, Connecticut, Idaho, Illinois,
   Iowa, Kansas, Maine, Maryland, Massachusetts, Minnesota, Missouri, Montana, Nebraska,
   New Hampshire, New Jersey, New Mexico, New York, North Carolina, North Dakota,
   Ohio, Oregon, Rhode Island, South Carolina, Tennessee, Texas, Utah, Vermont,
   Washington, Washington DC, West Virginia, Wyoming so he can maximize his value to
   employers, file amicus briefs in State and federal appellate courts in the aforementioned
   States, intervene on behalf of interest groups in cases pending before State and federal
   courts in the aforementioned States, provide pro bono services to moderate Democrats and
   moderate Republican candidates in those States upon graduation, and rise in the ranks of
   the American legal profession; Mr. Olapade will be unable to apply for comity admission
   to the bars of Kentucky, Mississippi, Delaware, Georgia, Michigan, Louisiana, and
   Wisconsin four to five years after his anticipated graduation from law school and will be
   prevented from maximizing his value to employers, filing amicus briefs in State and federal
   appellate courts in the aforementioned States, intervene on behalf of interest groups in
   cases pending before State and federal courts in the aforementioned States, provide pro
   bono services to moderate Democrats and moderate Republican candidates in those States
   upon graduation, and rise in the ranks of the American legal profession; Mr. Olapade will
   be unable to pursue his original plan of positioning himself for an associate or analyst
   position at an Investment Banking firm after studying abroad in the United Kingdom at
   Oxford; and Mr. Olapade will be saddled with close to $125,000 in student debt that he
   incurred to attend Yale Law School without any degree to procure employment in the legal
   sector that would assist him in paying the federal loans off. Mr. Olapade has no adequate
   remedy at law because he has been training to be an appellate, political law, private equity,
   sports, and oil and gas attorney for the past sixteen years and would have to switch
   professions on less than seven weeks' notice unless Yale Law School was temporarily
   enjoined from carrying out its racially discriminatory expulsion (See Exhibit 11 Exit
   Interview otms ling).

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    3.        Mr. Olapade moves the court for a preliminary injunction in this cause enjoining the
       Yale Law School, their agents, servants, employees and attorneys from academically
       disqualifying him from Yale Law School and treating him in any manner different from
       how similarly situated third year law students enrolled at Yale Law School are treated with
       respect to financial aid awards, course registration, Yale Law School facilities, or Yale Law
       School extracurricular activities.
    4.        If a preliminary injunction is granted, the injury, if any, to Yale Law School, if final
       judgment is in their favor, will be inconsiderable and will be adequately indemnified by
       bond.




Dated: July 29, 2019

Houston, Texas



Respectfully submitted,

Isl Habib Olapade
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                                  CERTIFICATE OF SERVICE

         I hereby certify that, on 81512019, a COPY' of the foregoing document was filed
 electronically and served by mail on anyone unable to accept electronic filing. Notice of this
 filing will be sent by email to all parties by operation of this court's electronic filing system or
 by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
 Filing. Parties may access this filing through the court's CMIECF system.


        Date: 81512019



Respectfully submitted,


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